                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,
                    Plaintiff,                                       No. CR07-4091-MWB
 vs.                                                                          ORDER
 GOKGOK PUOK,
                    Defendant.
                                         ____________________


        This matter is before the court on a Motion to Compel Discovery filed by the
plaintiff (the “Government”) on July 24, 2008. (Doc. No. 83) The defendant Gokgok
Puok (“Puok”) resisted the motion on July 25, 2008. (Doc. No. 84) This matter is
scheduled for jury trial beginning Monday, July 28, 2008.
        On April 2, 2008, Puok appeared in this court for his initial appearance and
arraignment on the Superseding Indictment. At his request, an attorney, Chad Primmer,
was appointed to represent him in the case.
        During the arraignment, Mr. Primmer and the prosecutor, Robert Knief, agreed to
entry of the standard discovery order utilized in this district. (See Doc. No. 33) The court
thereupon entered its trial management order (Doc. No. 35), which included the
“Stipulated Discovery Order.”1 On April 22, 2008, Mr. Primmer filed a motion to have

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            The court’s stipulated discovery order provides, in relevant part, as follows:
                            XVIII. STIPULATED DISCOVERY ORDER: At the time of
                   arraignment, the following discovery obligations were agreed to by the
                   parties, and the Court ORDERS compliance with the same.
                            A. The United States will include in its open discovery file or
                   otherwise make available law enforcement reports (excluding evaluative
                   material of matters such as possible defenses and legal strategies), grand
                   jury testimony, and evidence or existing summaries of evidence in the
                   custody of the United States Attorney’s Office, which provide the basis for
                                                                                               (continued...)


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his client made available for personal review of certain surveillance videos in the
Government’s discovery file. (Doc. No. 44) In that motion, Mr. Primmer admitted he
had reviewed the Government’s discovery materials, effectively acknowledging that
discovery in this case is covered by the Stipulated Discover Order.
       On July 14, 2008, Puok filed a Notice Regarding Expert Witness “pursuant to the
Federal Rules of Criminal Procedure, the Federal Rules of Evidence, and the Reciprocal



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           (...continued)
                 the case against the defendant. The file will include Rule 16, Brady, and
                 Jencks Act materials of which the United States Attorney’s Office is aware
                 and which said Office possesses. Should the defendant become aware of
                 any Brady material not contained in the open discovery file, the defendant
                 will notify the United States Attorney’s Office of such materials in order
                 that the information may be obtained.
                 ***
                           F. Upon disclosure of the United States’s discovery file, the
                 defendant immediately must provide, and will be under a continuing
                 obligation to provide, disclosure of statements as defined in 18
                 U.S.C. §3500(e)(1) & (2), and reciprocal discovery under Federal Rules
                 of Criminal Procedure 16(b) and 26.2.
                           ***
                           H. The United States’s open discovery file generally satisfies its
                 notice obligations pursuant to Federal Rule of Criminal Procedure 12(b)(4)
                 and Federal Rule of Evidence 404(b) and 609(b). If the defendant
                 identifies specific evidence in the open discovery file, however, and asks
                 the United States whether it intends to introduce such evidence pursuant
                 to Federal Rule of Criminal Procedure 12(b)(4) or Federal Rule of
                 Evidence 404(b) and 609(b), the United States will specify whether it
                 intends to use such evidence and if offered pursuant to Federal Rule of
                 Evidence 404(b), will identify the purpose for which it will be offered
                 under the rule without further motion or order.
                           I. The parties will exchange a list of prospective witnesses and a
                 list of prospective exhibits no later than five court days before the
                 commencement of trial. For witnesses for whom there existed no
                 statements or reports that were subject to disclosure through discovery, the
                 party listing the witness also must note next to the witness’s name on the
                 list the general purpose of his or her expected testimony.
                           J. This section imposes a continuing duty to disclose on all
                 parties.
Doc. No. 35, § XVIII.

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Discovery Order in this case.” (Doc. No. 57) In the notice, Mr. Primmer stated the
following:
             1. That during the investigation of defendant Gokgok Puok the
             government utilized recorded telephone calls and attempted
             controlled buys to produce evidence that defendant Puok was
             engaged in certain illegal activity.
             2. That the government has provided the undersigned with
             copies of these recordings which have been forwarded to an
             expert for review.
             3. That the undersigned has received an opinion from
             Dr. Robert Rodman, Professor, North Carolina State
             University. His contact information may be found online at:
             http://www.csc.ncsu.edu/directories/faculty_info.php?id=49.
             4. That Dr. Rodman’s testimony may present a novel,
             complex, or unusual factual or legal issue in this case.
             5. That the undersigned will make any reports of the expert
             available to the United States Attorney.
             6. That the undersigned will, upon request, provide the
             United States Attorney’s Office with a written description of
             the subject matter of the expert’s testimony. . . .
             7. That funding for this expert was pursuant to the Criminal
             Justice Act in such an amount that required 8th Circuit
             approval. A further clerical error by the United States
             Attorney resulted in two copies of the same recording being
             made (the undersigned wants to be clear that he asserts no
             malice in this instance and sincerely believes same to have
             been an honest mistake). This explains any delay in providing
             this notice as the undersigned only received notice of the
             expert’s opinion in the immediate past few days.
      On July 22, 2008, the defendant filed a second Notice Regarding Expert Witness
“pursuant to the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, and
the Reciprocal Discovery Order in this case.” (Doc. No. 64) In the notice, Mr. Primmer
stated the following:
             1. That during the investigation of defendant Gokgok Puok the
             government utilized cooperating individuals to produce


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             evidence that defendant Puok was engaged in certain illegal
             activity.
             2. That the undersigned has consulted with Dr. Otto Maclin
             regarding same. His contact information may be found online
             at: http://www.uni.edu/~maclino/.
             3. That Dr. Maclin’s testimony may present a novel,
             complex, or unusual factual or legal issue in this case.
             4. That the undersigned will make any reports of the expert
             available to the United States Attorney; however, none exist at
             this time and it is anticipated that none will be generated.
             5. That the undersigned will, upon request, provide the
             United States Attorney’s Office with a written description of
             the subject matter of the expert’s testimony.
             6. That funding for this expert was pursuant to the Criminal
             Justice Act in such an amount that required 8th Circuit
             approval. That the expert owned real estate negatively
             affected by the recent Iowa flooding and the undersigned just
             finished a week long jury trial, creating communication
             difficulties between the parties. This explains any delay in
             providing this notice as the undersigned only received notice
             of the expert’s opinion in the immediate past few days.
      On July 24, 2008, the Government filed the Motion to Compel Discovery currently
before the court. (Doc. No. 83) In the motion, the Government stated the following:
                     The defendant has provided notice of two expert
             witnesses, a voice recognition expert and an eyewitness
             identification expert. The defense has provided two e-mails,
             one for each witness, indicating the voice recognition expert
             will testify that “[n]one of the voices and [sic] be indisputably
             ascribed to Mr. Puok.” Certainly some test had to be
             performed to reach that conclusion. Further, there must be
             some basis for that conclusion, whether it be published studies,
             industry standards, or non-peer reviewed work by the witness.
             Similarly, the eyewitness expert will testify as to “the inherent
             problems in the identification process used when utilizing
             cooperating individuals.” Again, no basis is provided for
             problems which are apparently present in this case nor even of
             [sic] list of the problems that some undisclosed source has
             identified as inherent with cooperators.

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                     Given the above described circumstances, the govern-
              ment respectfully requests the Court find that the provisions of
              the Stipulated Discovery Order require compliance with Rule
              16(b) and compel the defendant to comply with the above
              referenced sections of that rule.
       Mr. Primmer, on behalf of Puok, responded to the motion on July 25, 2008 (Doc.
No 84), stating, in relevant part, as follows:
              1. That the undersigned is in receipt of the government’s
              motion to compel discovery in this cause and, for the most
              part, agrees with its contents. . . .
              2. That, to date, neither expert witness has generated a report
              or summary for the undersigned; the US Attorney’s Office has
              been provided contact information for the witnesses and is free
              to try and contact them should they so desire.
              * * *
              9. That, to date, no expert witness summary has been
              requested of, or produced by, the government.
              10.    That the undersigned will acknowledge that the
              undersigned did request a description of the manner in which
              law enforcement specifically produced their identifications in
              cooperation witness interviews which was never produced.
              11. That the undersigned interprets the discovery order as
              directing the parties to be governed by Rule 16; Rule 16 makes
              the government’s production of expert witness written
              summary a prerequisite to the defendant’s production of same.
              12. If the court deems the undersigned as incorrect in this
              interpretation, then an expert summary will be produced; until
              then, the undersigned sincerely believes the production of
              same would be an unethical act in violation of the attorney
              client relationship.
       The “Stipulated Discovery Order” embodies an agreement between the parties to
provide reciprocal discovery beyond what they are obligated to provide under the Federal
Rules of Criminal Procedure and the applicable statutes and constitutional provisions. The

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parties are not obligated to enter into the stipulation, but if they do, each side forgoes
certain rights in exchange for certain benefits. As applicable here, by entering into the
stipulation, each side gives up the right to ‘hide certain cards’ in exchange for the right to
see some of the ‘cards’ held by the other side. Mr. Primmer’s claim that he would
somehow be acting unethically if he disclosed some of his evidence to the Government
after taking advantage of the Government’s disclosures is unavailing. This is the bargain
he made, and he cannot expect to get the benefit of the bargain and then claim it would be
unethical to follow through on his obligations.
       A second consequence of the “Stipulated Discovery Order” is that to enforce the
obligations of the other side, the parties are not required to file, give, or make some of the
required “motions,” “notices,” or “requests” required by the Rules and statutes. Thus,
for example, under the stipulation, the Government agrees to include Jencks Act materials
in the discovery file without a motion by the defense, as required by 18 U.S.C. § 3500(b).
Significantly here, the Government is required to include in the file all Rule 16 materials
without the requirement of a defense “request.”          See Rule 16, passim; Stipulated
Discovery Order, ¶ A. In exchange, the defendant is required to provide reciprocal
discovery under Rule 16(b). Stipulated Discovery Order, ¶ F. Under the terms of the
stipulation, the defendant’s obligation to provide reciprocal discovery is not dependant
upon a prior defense request that the Government disclose Rule 16 materials because the
Government already is providing these materials to the defense under the terms of the
stipulation.
       If Mr. Primmer’s interpretation of the stipulation were to be adopted, the terms of
the stipulation would require the Government to provide the defendant with Rule 16
materials without any request from the defendant, but then if the defendant did not make
a request for the materials, the defense would have no reciprocal obligation. This
interpretation of the stipulation is not only contrary to its plain language, it would


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eviscerate the very purpose of the agreement. Compliance with the stipulation does not
create any hardship for the defense.             If the defense does not want to make these
disclosures, then the defendant either should not enter into the Stipulated Discovery Order,
or alternatively, if no stipulation is entered, should not request disclosure of the
government’s Rule 16 materials.2
        Having found that the defendant is obligated to comply with the disclosure
requirements of the Stipulated Discovery Order, the court turns to the plaintiff’s motion
to compel. The Government asks the court compel the defendant to comply with the
stipulation and provide the Government with a written summary of the testimony of the
defense expert witnesses, with the summary to “describe the witness’s opinions, the bases
and reasons for those opinions, and the witness’s qualifications,” as required by Rule 16.
See Fed. R. Crim. P. 16(b)(1)(C).
        The defendant cannot avoid his obligations under the stipulation by stating that no
such summaries have been prepared, or by referring the Government to a website or telling
the attorney for the Government to contact the witnesses himself.                       Mr. Primmer
acknowledges this fact by indicating that if the court finds his interpretation of the
Stipulated Discovery Order to be in error, he will produce the expert summaries.




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        The defendant complains that the Government often presents testimony of expert witnesses at trial
without complying with its obligations under Federal Rule of Criminal Procedure 16(a)(1)(G). Doc.
No. 84, p. 3, ¶¶ 7 & 8. A request that such testimony be excluded as a violation of the Stipulated
Discovery Order is beyond the scope of this order.

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      The motion is granted. The defendant is ordered to provide the Government with
the required summaries no later than 8:00 p.m. on Sunday, July 27, 2008.
      IT IS SO ORDERED.
      DATED this 25th day of July, 2008.




                                      PAUL A. ZOSS
                                      CHIEF MAGISTRATE JUDGE
                                      UNITED STATES DISTRICT COURT




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